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UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
X
In re : Chapter 11

WASHINGTON MUTUAL, INC., et al.,'
Case No. 08-12229 (MFW)

Debtors. : (Jointly Administered)

x

NOTICE OF FILING GF AMENDED CREDITOR MATRIX

PLEASE TAKE NOTICE that the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors”) have today filed the attached Amended Creditor
Matrix with the United States Bankruptcy Court for the District of Delaware, 824 North Market
Street, Wilmington, Delaware 19801. The Debtors expect to supplement the Amended Creditor

Matrix as more information becomes available.

1 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax
identification number are: (i) Washington Mutual, Inc, (3725); and (ii) WMI Investment Corp. (5395). The Debtors’
principal offices are located at 1301 Second Avenue, Seattle, Washington 98101.

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Dated: October 9, 2008
Wilmington, Delaware

RLF1-3330030-1

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PROPOSED ATTORNEYS TO THE DEBTORS

AND DEBTORS IN POSSESSION
